 Case 6:17-cv-02025-RBD-TBS Document 6 Filed 11/27/17 Page 1 of 2 PageID 24



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

JOHN NORTHRUP,

       Plaintiff,

v.                                                        Case No. 6:17-cv-2025-Orl-37TBS

FLORIDA’S FINEST INSURANCE,
INC.,

      Defendant.
_____________________________________

                                          ORDER

       In the instant action, Plaintiffs assert claims against Defendant for violations of the

Telephone Consumer Protection Act. (Doc. 1 (“Complaint”).) On review, the Complaint

is due to be dismissed without prejudice as an impermissible shotgun pleading.

       Shotgun pleadings come in a variety of forms. See, e.g., Weiland v. Palm Beach Cty.

Sheriff’s Office, 792 F.3d 1313, 1321 (11th Cir. 2015). The most common type “is [one]

containing multiple counts where each count adopts the allegations of all preceding

counts, causing each successive count to carry all that came before and the last count to

be a combination of the entire complaint.” Id. at 1321. Such pleadings impose on the Court

the onerous task of sifting out irrelevancies to determine which facts are relevant to which

causes of action. See id. at 1323. Described as “altogether unacceptable,” by the U.S. Court

of Appeals for the Eleventh Circuit, when a shotgun pleading is filed in this Court,

repleader is required. Cramer v. Florida, 117 F.3d 1258, 1263 (11th Cir. 1997); see also Paylor

v. Hartford Fire Ins. Co., 748 F.3d 1117, 1125–28 (11th Cir. 2014). If the Court does not

                                              -1-
 Case 6:17-cv-02025-RBD-TBS Document 6 Filed 11/27/17 Page 2 of 2 PageID 25



require repleader, then “all is lost.” Johnson Enters. of Jacksonville, Inc. v. FPL Grp., Inc.,

162 F.3d 1290, 1333 (11th Cir. 1998).

       Here, the Complaint evidences the most common form of shotgun pleading, as

Count II incorporates the preceding allegations. (See Doc. 1, ¶ 56.) This is impermissible.

Hence the Complaint must be dismissed. If Plaintiff chooses to replead, the amended

complaint must clearly delineate which factual allegations are relevant to each claim.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.     Plaintiff’s Complaint (Doc. 1) is DISMISSED WITHOUT PREJUDICE.

       2.     On or before Monday, December 4, 2017, Plaintiff may file an amended

              complaint that remedies the deficiency identified in this Order. Failure to

              timely file may result in this action being closed without further notice.

       DONE AND ORDERED in Chambers in Orlando, Florida, on November 27, 2017.




Copies to:
Counsel of Record




                                              -2-
